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Attorneys for Plaintiff
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                ) CR. NO. 22-00058 SOM
                                         )
                   Plaintiff,            ) NOTICE OF RELATED CASE
                                         )
    vs.                                  )
                                         )
PAUL JOSEPH SULLA, JR., and              )
GARY CHARLES ZAMBER,                     )
                                         )
                   Defendant.            )
                                         )

                      NOTICE OF RELATED CASE
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             Pursuant to Hawaii Local Rule 40.2 and Crim. Local Rule 12.3, the

United States Attorney gives notice herein that the above-captioned Indictment

involves the same or substantially similar facts as the following proceedings:

United States v. Alan Scott Rudo, 1:22-cr-00055-JAO and United States v. Rajesh

P. Budhabhatti, 1:22-cr-00057-JAO.

             DATED: July 21, 2022, at Honolulu, Hawaii.

                                             Respectfully submitted,

                                             CLARE E. CONNORS
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Mohammad Khatib
                                               MOHAMMAD KHATIB
                                              Assistant U.S. Attorney

                                             Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA




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